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 6
                        UNITED STATES DISTRICT COURT
 7                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
 8
       MAUREEN HARRINGTON                        Case No.: 2:22-cv-08230-HDV-E
 9

10                 Plaintiff,

11          v.
                                                 NOTICE OF SUBMISSION OF
12                                               AUTHORITY
       DEEPAK DUGAR, M.D.,
13      A MEDICAL CORPORATION
14                  Defendant
15          Defendant Deepak Dugar, M.D., a Medical Corporation (“Dugar”), acting in
16
      response to the contention of counsel for Plaintiff concerning risks Plaintiff faced
17

18    as a result of Defendant’s service of offers of judgment in this matter made at the
19    August 8, 2024 hearing on Plaintiff’s motion for attorneys fees, submits a copy of
20
      the opinion of the Ninth Circuit Court of Appeals in Champion Produce, Inc. v.
21

22    Ruby Robinson Company, 342 F. 3d 1016 (9th Cir. 2003). There the Court of
23    Appeals held that “Rule 68 ‘costs’ do not include a non-prevailing party’s
24
      attorneys fees when the underlying statute awards attorneys fees to a prevailing
25

26    party.” 342 F. 3d at 1030-31.
27

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                                                 1

                                 NOTICE OF SUBMISSIONON OF AUTHORITY
     Case 2:22-cv-08230-HDV-E Document 223 Filed 08/09/24 Page 2 of 4 Page ID #:2255




 1                                         Respectfully submitted,
                                           By: /s/ Jeffrey L. Squires
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                               NOTICE OF SUBMISSION OF AUTHORITY
     Case 2:22-cv-08230-HDV-E Document 223 Filed 08/09/24 Page 3 of 4 Page ID #:2256




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 7                     UNITED STATES DISTRICT COURT
 8                FOR THE CENTRAL DISTRICT OF CALIFORNIA

 9     MAUREEN HARRINGTON                         Case No. 2:22-cv-08230-HDV-E
10
                   Plaintiff,
11

12         v.

13     DEEPAK DUGAR, M.D.,                        PROOF OF SERVICE FOR NOTICE
          A MEDICAL CORPORATION,
14                                                OF SUBMISSION OF AUTHORITY
                   Defendant
15

16
            I hereby certify that on this 9th day of August, 2024, a true and correct copy
17
      of Notice of Submission of Authority, along with this Proof of Service, was filed
18

19    and served via the Court’s CM/ECF system to the following counsel of record.
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      Gold River, CA 95670
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      Daniel DeSouza
25    Lauren Hausman
26    COPYCAT LEGAL, PLLC
      3111 N. University Drive
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28
                        PROOF OF SERVICE FOR NOTICE OF SUBMISSION OF AUTHORITY
     Case 2:22-cv-08230-HDV-E Document 223 Filed 08/09/24 Page 4 of 4 Page ID #:2257




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 5    /s/ Jeffrey L. Squires
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28                       PROOF OF SERVICE FOR NOTICE OF SUBMISSION OF AUTHORITY
